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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Steve Merritt
                                 Plaintiff,
v.                                                  Case No.: 1:16−cv−11146
                                                    Honorable Virginia M. Kendall
Heller and Frisone, Ltd.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 29, 2018:


       MINUTE entry before the Honorable Virginia M. Kendall. Plaintiff's Motion for
attorney fees [42] is dismissed pursuant to settlement. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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